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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

BRANCH BANKING AND TRUST                      )
COMPANY,                                      )
                                              )
                   Plaintiff,                 )
                                              )
v.                                            ) CIVIL ACTION NO.:
                                              ) CV1:14-cv-1063-WHA-CSC
CREW DEVELOPMENT, LLC,                        )
CREW DISTRIBUTING COMPANY,                    )
INC., and MICHAEL A. CREW,                    )
                                              )
                   Defendants.                )
                       RECEIVER’S INITIAL REPORT
       COMES NOW Andrew Bolnick & Associates, Inc. (the “Receiver”) and

submits this Initial Report (“Report”) which includes the May 11, 2015, through

May 31, 2015, financial information required to be disclosed pursuant to the

Stipulated Order Appointing Receivership entered April 15, 2015 (the

“Receivership Order”). (Doc. No. 13).

A)     INTRODUCTION AND IDENTIFICATION OF PARTIES

       This Report is filed in accordance with Receivership Order and provides the

May monthly financial information required to be disclosed pursuant to paragraph

18(l) of the Receivership Order as well as additional relevant information for the

parties and the Court regarding the Receiver’s actions since the effective date of its

appointment.


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       The Parties are defined throughout this Report as follows: Andrew Bolnick

& Associates, Inc. (“Receiver”), Branch Banking and Trust Company (“BB&T”);

LPT Retail Management Services, LLC (“LPT”); Crew Development, LLC (“Crew

Development”), Crew Distributing, Inc. (“Crew Distributing”), and Michael A.

Crew (“Mickey Crew”). Crew Development, Crew Distributing and Mickey Crew

are collectively referred to herein as “Crew Parties”).

B)     THE RECEIVER TOOK CONTROL ON MAY 11, 2015

     a) Overview

       On April 15, 2015, this court entered the Receivership Order, appointing the

Receiver to monitor the convenience store located at 4468 W. Main Street (the

“Store”) and other Collateral (as that term is defined in the Receivership Order) of

Crew Development.

       Since the entry of that Receivership Order, the appointment of the Receiver

became effective pursuant to the terms and provisions of the Receivership Order

based upon (a) the Crew Parties’ failure to make the first Interim Payment (as that

term is defined in the Receivership Order) of $3,000.00 to Receiver,

notwithstanding being given multiple extensions to make said payment, (b) the

Crew Parties’ failure to provide BB&T with a copy of a fully executed Contract (as

that term is defined in the Receivership Order) within 20 days of the date of the

Receivership Order, and (c) the Crew Parties’ failure to cooperate with the



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Receiver's Monitoring Activities (as that term is defined in the Receivership Order)

by providing information to the Receiver. (Doc. No. 13, para. 30). A Notice of

Effectiveness of Appointment of Receivership was filed by the parties on May 11,

2015. (Doc. No. 17). The Receiver filed its bond in the amount of $100,000 on

May 15, 2015, (Doc. No. 20), within the ten (10) days required under the

Receivership Order and the Clerk accepted the bond by filing its notice of

acceptance on May 22, 2015 (Doc. No. 25).

   b) Hiring of LPT Retail Management Services, LLC.

      When its appointment became effective, the Receiver entered into an

operator agreement with LPT to manage and operate the Store. A copy of the

signed operator agreement is attached to this report as Exhibit “A”. LPT is a retail

management service company that offers a unique management service in the

convenience store industry. The company manages/operates convenience stores,

car washes, truck stops, quick lubes and fast food restaurants for financial lending

institutions, oil companies, individuals, local & national wholesalers, and

receiverships.   The company's founders are experienced professionals in the

convenience store industry with over 130 years of combined experience with

clients such as Shell Oil, BP, ExxonMobil, Morgan Stanley and GMAC.

   LPT has been operating the Store since May 11, 2015, under the close

supervision of the Receiver.



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   c) Opening of Bank Accounts

      When its appointment became effective, the Receiver opened new bank

accounts with BB&T. The Receiver opened two deposit accounts in its name as

Receiver for Crew Development. The Receiver, in order to provide for smooth

operations at the Store, gave signature authority to LPT on the operating bank

account for the Store. The Receiver maintains full control of both bank accounts

and reviews these bank accounts online daily.

      LPT also has a small operating account with Bank of America that used at

the Store for LPT personnel to purchase miscellaneous inventory from vendors.

   d) Advance to the Receiver by BB&T

      The Receiver received an advance from BB&T pursuant to the terms of the

Receivership Order in the amount of $138,750.00. The Receiver received this

amount from BB&T prior to May 11, 2015, in the event that the inventory of the

Store was not sufficient for adequate operations. The amount of this money that

has been used for operations and fees are detailed in the financial reports attached

to this Report.

   e) Initial Inventory of Store

      The Receiver, LPT, and the Receiver’s attorney, Justin G. Williams,

attended the takeover of the Store on May 11, 2015. A summary of the initial

takeover prepared by LPT is attached to this report as Exhibit “B”. An inventory



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of the Store was prepared by LPT and the documents supporting the inventory of

the Store are attached to this Report as Exhibit “C”. The Receiver has been in

communication with Southern Independent Bank, who claims a security interest in

the initial inventory of the Store, and is working out a resolution for payment to

them for their security interest. However, as will be discussed below which is the

subject of a pending Motion to Compel, the Crew Parties have failed to turnover

$31,098.00 in credit card funds to the Receiver. During the time necessary to

replace Crew Distributing as the Store’s fuel distributor due to Mickey Crew’s

failure to cooperate, the credit card funds were paid into an account owned and

operated by the Crew Parties in the name of Crew Distributing. The credit card

funds include credit card purchases by Store customers inside and at the pump,

totaling $31,098.00. The Receiver continues to pursue this money from the Crew

Parties in this Court.

   f) Change of Fuel Distributor

      One of the most important actions the Receiver took at the takeover was to

change the fuel distributor of the Store from Crew Distributing, LLC to Empire

Petroleum Partners, LLC.     This was significant to the overall success of the

Receivership because it allowed the Receiver to gain control of all credit card

receipts and direct those receipts ultimately to the operating account opened by the




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Receiver. Empire Petroleum Partners, LLC is currently delivering fuel to the Store

when requested by LPT and the Receiver.

     g) Insurance Matter

       Although it took filing a Motion with the Court to get the Crew Parties to

release the insurance agent to add the Receiver as an additional insured, the

Receiver was finally added as an additional insured on the Crew Parties’ insurance

on May 22, 2015. The Certificate of Insurance given to the Receiver is attached

hereto as Exhibit “D”.

C)     FINANCIALS FROM MAY 11, 2015 through MAY 31, 2015

       The bank account statements for the month of May are attached as Exhibit

“E”. Also attached to this Report collectively as Exhibit “F” is the following

financial information for the Store:

          • Profit & Loss Statement for May 2015

          • Balance Sheet ending on May 31, 2015

          • Statement of Income and Expenses ending on May 31, 2015

          • Trial Balance as of May 31, 2015

          • General Ledger as of May 31, 2015




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D)     THE CREW PARTIES HAVE FAILED TO COOPERATE WITH

       THE RECEIVER

       The Receiver has received very little cooperation from the Crew Parties.

This lack of cooperation came after Mickey Crew previously assured the Receiver

that he would fully cooperate. After becoming the Monitor and prior to the full

Receivership becoming effective on May 11, 2015, Andrew Bolnick spoke directly

with Mr. Mickey Crew on the telephone and Mr. Crew assured Mr. Bolnick that he

would cooperate with the Receiver in every manner and every way.

       Despite this representation to Mr. Bolnick, Mickey Crew has systematically

frustrated every attempt for information from him and has attempted to frustrate

third party cooperation with the Receiver. Mr. Crew has even directed the filing of

a bankruptcy petition for Crew Development, Inc. for the purpose of attempting to

replace the Receiver. (Amended Status Report, June 8, 2015, Doc. No. 28).

       The Bankruptcy court in In Re Crew Development, LLC, 1:15-bk-10996, has

stayed all proceedings before it pending a ruling by this Court on the Motion to

Withdraw Reference and a ruling on whether to dismiss the bankruptcy case. See

also Order Staying Proceedings, In Re Crew Development, LLC (1:15-mc-03712-

MHT). However, Crew Development, LLC has consented in open bankruptcy

court to the Receiver continuing to operate the Store. (Amended Status Report, 4,

Doc. No. 28).



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       This failure to cooperate has forced the Receiver to spend a very large

amount of legal fees attempting to get Mickey Crew and the Crew Parties to

perform. The Receiver has not received the May legal invoice but those fees and

the payment of the fees will be detailed to the Court in its next report. The

Receiver intends to seek payment from the Crew Parties for a significant portion of

these legal fees.

       In addition to having to file Motions and attend a hearing in the bankruptcy

court, the Receiver has been forced to file four Motions in this case: 1) Motion for

Contempt (Doc. No. 18); 2) Supplemental Motion for Contempt (Relating to

Insurance) (Doc. No. 19); 3) Second Supplemental Motion for Contempt (Relating

to Credit Card Fees) (Doc. No. 29), and 4) Third Supplemental Motion for

Contempt (Relating to Sales Tax Password) (Doc. No. 30). In these Motions, the

Receiver requests the Crew Parties be compelled to comply with the Receivership

Order, be found in contempt of the Receivership Order, and be ordered to pay

attorneys’ fees, the Receiver’s fees, as well as sanctions for unduly delaying the

effective transition of the Store to the Receiver.

E)     SALE OF THE STORE

       The Receiver is compiling a package of financial information in order to

market the Store for sale. The Receiver has requested from the Crew Parties the

financial data for the Store for April 2014 to May 2015 to assist in putting together



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this information, but the Crew Parties have not yet provided the requested

information. Since the Receiver has not received the financial data from the Crew

Parties, the Receiver is gathering several months of its own financial data from fuel

and other inventory sales in the Store to properly market and sell the Store.

However, the Receiver continues to need the historical financial information for

the Store and continues to request this information from the Crew Parties.

      There was a contract proposed by Crew Development for the sale of the

Store to Star Spot Properties, LLC (“Star Spot Contract”). The Star Spot Contract

was signed on May 15, 2015, by Mickey Crew for Crew Development and Karen

Rhoden on behalf of Star Spot Properties. The Star Spot Contract is attached

hereto as Exhibit “G”. The Star Spot Contract was invalid on its face because it

was signed by Mickey Crew, who at the time did not have the authority to sign for

Crew Development.       Furthermore, the Star Spot Contract was wrought with

deficiencies that were discussed in detail by counsel for BB&T at both the hearing

before this Court on May 21, 2015 (Hearing Transcript, Doc. No. 24), and before

the bankruptcy court at a hearing held on May 29, 2015. Most importantly, the

Receiver was notified by BB&T in open bankruptcy court on May 29, 2015, that it

rejected this Star Spot Contract.

      Furthermore, the Receiver recently learned through a review of the Alabama

Secretary of State’s website that Star Spot Properties, LLC is a single member



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LLC formed on May 12, 2015, by Kevin Crew (the son of Mickey Crew). Kevin

Crew is also a member of Crew Development, LLC according to the Alabama

Secretary of State’s website.

       Therefore, it appears this Star Spot Contract, signed by Mickey Crew on

behalf of Crew Development, LLC and Karen Rhoden on behalf of Star Spot, was

in reality a contract for sale to Kevin Crew, an insider and owner of Crew

Development. This was not disclosed to the Receiver, and was not disclosed in

any filing with this Court or the bankruptcy court.

       The Receiver agrees with BB&T’s conclusions regarding this Star Spot

Contract and has not pursued it any further. The Receiver will pursue a sale of the

Store once it has the data to adequately and effectively market this Store.

F)     PENDING MATTERS AND CONCLUSION

       The Receiver will continue to pursue cooperation from the Crew Parties. In

the months of June and July, the Receiver will be renewing the Store’s alcohol and

tobacco license with the State of Alabama and will need the cooperation of the

Crew Parties to effectuate that renewal.

       The Receiver will continue to keep the Court informed of its actions at the

Store and will continue to operate the Store in accordance with the Receivership

Order.




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       Respectfully submitted this the 15th day of June, 2015.


                                       RECEIVER
                                       ANDREW BOLNICK & ASSOCIATES,
                                         INC.


                                        By: /s/ Andrew Bolnick
                                         ANDREW BOLNICK
                                         Its President

                                       COUNSEL TO RECEIVER


                                        /s/ Justin G. Williams
                                        Robert L. Shields, III
                                        Justin G. Williams
                                        Attorneys for the Receiver
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justin.williams@campbellguin.com

                         CERTIFICATE OF SERVICE
       I hereby certify that on this 15th day of June, 2015, the foregoing document
was filed with the Clerk of the Court using the CM-ECF system, which will send
notification of such filing to all parties requesting electronic service.

                                       /s/ Justin G. Williams
                                       OF COUNSEL

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                         APPENDIX OF EXHIBITS


A)     MANAGEMENT AGREEMENT BETWEEN RECEIVER AND LPT
       RETAIL MANAGEMENT SERVICES, LLC

B)     SUMMARY OF TAKEOVER PREPARED BY LPT RETAIL
       MANAGEMENT SERVICES, LLC

C)     INVENTORY OF STORE PREPARED BY LPT RETAIL
       MANAGEMENT SERVICES, LLC

D)     FINANCIAL REPORTS FOR MAY
E)     BANK STATEMENTS

F)     STORE FINANCIALS
G)     STAR SPOT CONTRACT




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